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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN

CATHY MARIE OLSON,

                     Plaintiff,
       v.
                                                      Case No. 20-cv-672-jdp
ANDREW M. SAUL,
Commissioner of Social Security

                     Defendant.


                             JUDGMENT IN A CIVIL CASE


       IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

defendant Andrew M. Saul, against Cathy Marie Olson affirming the Commissioner’s

decision and dismissing this case.




           s/ V. Olmo, Deputy Clerk                              5/05/2021
        Peter Oppeneer, Clerk of Court                              Date
